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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

GREGG T. CARDIN, individually, and
on behalf of all others similarly situated,                  Case No. 1:21-cv-03350

           Plaintiff,                                        Honorable Franklin U. Valderrama

v.

NEWREZ LLC d/b/a SHELLPOINT
MORTGAGE SERVICING,

           Defendant.

                                      INITIAL STATUS REPORT

     I.      Nature of the Case

             A. Attorneys of Record:

                   For Plaintiff:                             For Defendant:

                   Mohammed O. Badwan (Lead)                  Rebekah A. Carpenter (Lead)
                   SULAIMAN LAW GROUP, LTD.                   AKERMAN LLP
                   2500 South Highland Avenue                 71 S. Wacker Dr.
                   Suite 200                                  46th Floor
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             B. Basis for federal jurisdiction: Court has federal question jurisdiction pursuant to

                  the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.


             C. Overview of the Case: Plaintiff’s claims arise from Shellpoint's alleged unlawful

                  assessment of charges to Plaintiff’s mortgage loan. Specifically, Plaintiff alleges that

                  Shellpoint unilaterally purchased and charged Plaintiff for a property insurance policy

                  despite having actual knowledge that Plaintiff maintained his own property insurance

                  policy. As a result of Shellpoint’s conduct, Plaintiff’s mortgage loan fell into default
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      status and Plaintiff was forced to pay for the erroneous charges assessed by Shellpoint.

      Upon information and belief, Shellpoint’s conduct in unilaterally purchasing a

      property insurance policy while the borrower had an active policy is not isolated to

      this case, but rather a widespread practice that has injured hundreds, if not thousands,

      of consumers in Illinois.

      Shellpoint denies it unilaterally purchases property insurance policies when borrowers

      have a qualifying and applicable active policy, and denies liability in this case.

      Shellpoint is still investigating the case specific circumstances here, including any

      lender placed insurance and the reasons for such placement, if it occurred.

   D. Claims and Counterclaims: Plaintiff contends that the alleged conduct set forth in

      Section C is a breach of the underlying mortgage contract, unjustly enriches

      Defendant, and violates the FDCPA, and the Illinois Consumer Fraud and Deceptive

      Business Practices Act (“ICFA”).

   E. Principal Factual Issues: Whether (i) defendant purchased a property insurance

      policy for plaintiff; (ii) if so, whether defendant had a right to do so based on the

      language of the mortgage and the underlying factual background; (iii) whether and

      how much of any lender placed insurance amounts were charged to plaintiff’s

      mortgage loan; and (iv) when and whether defendant had actual knowledge plaintiff

      maintained his own policy and the time periods of any such policy.


   F. Principal legal issues: Whether defendant’s alleged conduct (1) is a breach of the

      mortgage contract; (2) unjustly enriches defendant; (3) violates the FDCPA; and (4)

      violates ICFA.




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         G. Relief Sought by Plaintiff: Plaintiff is seeking (1) compensatory damages in the

              amount no less than $30,000 (includes approximately $5,000 in monetary loss); (2) an

              order certifying the proposed class; (3) punitive damages no less than $60,000

              pursuant to ICFA; (4) statutory damages pursuant to the FDCPA; and (5) his attorney’s

              fees and costs.


         H. Status of Service: Defendant waived service and defendant's answer was due on or

              before August 30, 2021. Plaintiff has agreed to Defendant's request to extend

              defendant's answer deadline through October 7, 2021.


II.      Discovery

         A.

                            Event                                        Deadline
       Rule 26(a)(1) Disclosures                          October 15, 2021
       Amendment to the pleadings                         December 30, 2021
       Service of process on any “John Does”              December 30, 2021
       Completion of Fact Discovery                       July 29, 2022
       Disclosure of Expert Report(s)                     One month after the close of fact
                                                          discovery (August 29, 2022)
       Deposition of Plaintiff’s Expert                   N/A
       Deposition of Defendant’s Expert                   N/A (none known at this time)
       Dispositive Motions                                One month after the close of expert
                                                          discovery (September 28, 2022)


         B. Anticipated Depositions: Plaintiff intends on taking no more than 3 depositions,

              depending on how many involved third parties are disclosed by Defendant. Defendant

              intends to take plaintiff's deposition.

         C. Anticipated Discovery Issues: None at this time.

         D. Discovery Plan: The parties have discussed a discovery plan, the topics of discovery,

              and the scope of discovery and do not anticipate any issues.


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  III.    Trial

          A. Trial: Plaintiff has demanded a jury trial

          B. Estimated length of trial: 3 days for Plaintiff’s individual claims and 3 days for the

             class claims should the court certify the proposed class.

  IV.     Settlement, Referrals, and Consent

          A. Status of Settlement Discussions: Plaintiff has made a written settlement demand to

             Defendant. Defendant has yet to respond to Plaintiff’s settlement demand.

          B. Settlement Conference: The parties believe it is too early for a settlement conference

             and will likely request one after the completion of written discovery.

          C. Magistrate Judge Consent: The parties do not consent to proceed in front of a

             Magistrate Judge.


  V.      Other Issues: None

Dated: September 7, 2021                            Respectfully submitted,

GREGG T. CARDIN                                     NEWREZ LLC d/b/a SHELLPOINT
                                                    MORTGAGE SERVICING

By: /s/ Mohammed O. Badwan                          By: /s/ Rebekah A. Carpenter

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